Case 4:21-cv-02793 Document 1-4 Filed on 08/26/21 in TXSD Page 1 of 10




                          EXHIBIT 3
Case 4:21-cv-02793 Document 1-4 Filed on 08/26/21 in TXSD Page 2 of 10
Case 4:21-cv-02793 Document 1-4 Filed on 08/26/21 in TXSD Page 3 of 10
Case 4:21-cv-02793 Document 1-4 Filed on 08/26/21 in TXSD Page 4 of 10
Case 4:21-cv-02793 Document 1-4 Filed on 08/26/21 in TXSD Page 5 of 10
Case 4:21-cv-02793 Document 1-4 Filed on 08/26/21 in TXSD Page 6 of 10
Case 4:21-cv-02793 Document 1-4 Filed on 08/26/21 in TXSD Page 7 of 10
Case 4:21-cv-02793 Document 1-4 Filed on 08/26/21 in TXSD Page 8 of 10
Case 4:21-cv-02793 Document 1-4 Filed on 08/26/21 in TXSD Page 9 of 10
Case 4:21-cv-02793 Document 1-4 Filed on 08/26/21 in TXSD Page 10 of 10
